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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                            November 13, 2017
                               IN THE UNITED STATES DISTRICT COURT
                                                                             David J. Bradley, Clerk
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

EUGENE VAUGHN, Individually and                       §
on behalf of all others similarly situated,           §
                        Plaintiff,                    §
v.                                                    §     CASE NO. 4:16-CV-3578
                                                      §
THE DOCUMENT GROUP INC.,                              §
              Defendant.                              §

                                                    ORDER

            The Court has received the parties’ Joint Motion for Approval of Settlement

Agreement (the “Motion”) [Doc. # 835] and the Release and Settlement

Agreement (the “Settlement Agreement”) [Doc. # 835-1] attached thereto. The

Court has reviewed both the Motion and the Settlement Agreement and concludes

that the Settlement Agreement is fair and reasonable. In addition, the Court has

reviewed the amount of attorney’s fees that Plaintiffs’ counsel will receive as a

result of the settlement of this lawsuit. Because Plaintiffs’ counsel has agreed to

reduce his fee for sixty seven (67) hours of work on this case from $33,500 to

$21,980, the Court considers the amount of attorney’s fees and costs specified in

the Settlement Agreement to be fair and reasonable. For the foregoing reasons, it

is hereby

            ORDERED that the Motion [Doc. # 835] is GRANTED and the Settlement

Agreement [Doc. # 835-1] is APPROVED. It is further
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            ORDERED that the parties, on or before November 29, 2017, shall file a

joint stipulation to dismiss this lawsuit with prejudice in accordance with

Paragraph 17 of the Settlement Agreement.

            Signed at Houston, Texas, this 13th day of November, 2017.




                                                             NAN Y F. ATLAS
                                                    SENIOR UNI   STATES DISTRICT JUDGE




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